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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

In re:                                       :      Chapter 13
                                             :
TONI MURPHY
ARTHUR MURPHY                                :      Case No. 23-12591 (PMM)
     Debtor(s)                               :

                                          ORDER
         AND NOW, after notice and hearing, and, as discussed in open court at the hearing

held in this matter on March 26, 2024,

         It is hereby ORDERED that confirmation of Debtor’s Chapter 13 Plan is DENIED.




Date: 3/26/2024
                                                    HON. PATRICIA M. MAYER
                                                    U.S. BANKRUPTCY JUDGE
